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Ebnet Declaration Exhibit 2
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 1                       UNITED STATES DISTRICT COURT
 2                           DISTRICT OF MINNESOTA
 3      ________________________________________________________
 4      Mayo Foundation for Medical Education
        and Research,
 5
        Plaintiff/Counterclaim
 6      Defendant,
 7      v                                Case No.: 21-cv-1039(SRN/TNL)
 8      Knowledge to Practice, Inc.,
 9      Defendant/Counterclaim
        Plaintiff,
10      _________________________________________________________
11                           VIDEO DEPOSITION OF
12                                 MARK LANTERMAN
13      _________________________________________________________
14
15
16
17
18
19
20
21
22
23
24
25      DATE TAKEN:     March 9, 2023                         BY LISA M. HUTTON

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                                                     Page 50                                                          Page 52
 1     well, let me back up. As an example, let's say if        1     media presentations, which were great.
 2     we have a criminal case and we conduct our analysis      2 A     Thank you.
 3     and we show X as evidence. Our process should be         3 Q     So this designer that you are working with, what
 4     repeatable by a defense expert. So if that expert        4     sorts of things are you doing to update the
 5     is trained and educated in forensics, we should          5     website?
 6     come to very similar conclusions. So -- and              6 A     I have no idea.
 7     usually that's what we see. You know, we may not         7 Q     Okay.
 8     agree on everything, but we are kind of in the same      8 A     I'm not involved in that.
 9     ballpark.                                                9 Q     Who's involved at CFS?
10 Q    Is that why sometimes, Mr. Lanterman, you're           10 A     That would be Chris Lester and Nate Ditmar.
11     appointed by the court to assist with cases,            11 Q     Okay. Okay. So for each of those five categories,
12     because it's a factual matter? You are telling          12     I would just like you to ask -- or I would like to
13     your -- you are reporting to the court here's what      13     ask you a few questions about what they mean.
14     the facts are, and then the lawyers or anybody else     14 A     Sure.
15     involved, they can decide how to apply them in that     15 Q     So what type of evidence do you analyze for disk
16     case? Is that a fair description of your role           16     forensics?
17     sometimes?                                              17 A     Yeah. So by disk forensics, that would be -- let's
18 A    Yeah, I think that that's very fair. And we are        18     say if you are working on a case, and let's say you
19     seeing a trend in the appointment of special            19     had -- your client had an employee quit, go to work
20     masters, because if you think about it, I don't --      20     for a competitor, and all of a sudden, you know,
21     you know, it doesn't matter who's paying me, the        21     clients are going to this new company. Well, we
22     data is what it is. And, you know, as an example,       22     have her old work computer. Bring it by. Let me
23     the case I mentioned earlier involving the              23     see what's there. So I have a physical disk. Oh,
24     Intoxilyzer, you know, on one side you have about       24     it looks like on March 5 at 5:45 p.m. after hours
25     70 criminal defense attorneys pooling moneys to pay     25     she plugs in a USB device, here's the serial
                                                     Page 51                                                          Page 53
 1     for me to do this. But my report did not help my         1     number, and she copies these 1,400 files to that
 2     client at all. And they were not happy with me.          2     thumb drive, and then she deletes all of those
 3     But it is what it is, and it was the truth. And          3     files. Oh my God, give me a report. So, you know,
 4     even though the source code of the Intoxilyzer was       4     that would be a typical case that I would consider
 5     horribly written, the thing still worked. And it         5     disk forensics. Like you had the physical drive.
 6     did what it was, you know, marketed to do, so...         6 Q     Got it. That makes sense. For disk forensics, do
 7 Q     I'm going to ask you a few more questions about        7     you apply a program to begin the analysis, or are
 8     your website. So, you know, forgive me, I'm not          8     there certain places -- let's use the computer
 9     asking you to recall or have memorized every web         9     example where you can see a history of downloads or
10     page, but they are helpful for me as I try to           10     external devices inserted. How does that process
11     educate myself on this stuff. So on the CFS             11     work?
12     website, there are five subtypes of digital             12 A     Yeah. And again, it depends. So the first step
13     forensics that are identified there. There's disk       13     would be preservation, the imaging that I
14     forensics, network forensics, Internet forensics,       14     mentioned. Because electronic evidence is very
15     email forensics, and cloud forensics. Does that         15     fragile, and just turning on a computer, you modify
16     sound about right to you?                               16     over 400 date and time stamps. And in a lot of my
17 A     Yeah, I haven't looked at our website in a long       17     cases -- not all of them, but in a lot of my cases,
18     time.                                                   18     time lines are important. What happened when. So
19 Q     Okay. Do you know when it was last updated?           19     that's why that snapshot, that imaging is so
20 A     Well, I know that we have a designer working with     20     important. Because if I just take that laptop and
21     us right now to update it, so I want to say it's        21     start clicking around, you know, now I'm modifying,
22     probably been about two years or so since it's been     22     you know, the best evidence. So generally in disk
23     updated. If you have any suggestions, I would           23     forensic cases, first step is preservation imaging,
24     appreciate it.                                          24     I read the complaint, if there is one, or I read
25 Q     No, I thought it was very slick, including your       25     the search warrant application, or I have a phone

                                                                                                      14 (Pages 50 - 53)
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 1     call, like, you know, if I talk to you on the            1     application looking to identify. If I don't find
 2     phone.                                                   2     that, I call you and I say, "Hey, I don't see
 3              "What's going on. I have this laptop."          3     anything pertaining to Dorsey," then maybe you'll
 4     "What are we trying to accomplish. Well, the             4     produce that data.
 5     client thinks X, Y, and Z. Okay. How about if we         5 Q     Okay. Mr. Lanterman, is it fair to say that you
 6     do this. I want to look for evidence of USB              6     did not apply disk forensics to arrive at your
 7     activity, evidence of deletions. Because a lot of        7     opinions in this case?
 8     times what we see is when data is stolen. They           8 A     Correct.
 9     then delete it because they think it'll hide their       9 Q     Let me ask you now about network forensics. What
10     tracks. You know, let me see if they uploaded data      10     type of evidence do you analyze for network
11     to Dropbox, because they think if it's in a             11     forensics?
12     browser, they are not going to get caught. And          12 A     So again, it depends. Network forensics could
13     then you say, "Yeah, that sounds good. Go ahead         13     be -- there's a denial of service attack. There's
14     and do that." And then I'll just execute the plan.      14     something going on related to your -- to your
15     So I -- we preserve first. Then I formulate a plan      15     network. You know, we -- "we think that we have
16     with the client, usually an attorney. Here's what       16     someone who's looking at inappropriate material
17     I want to do, are you okay with this. Once I get        17     during lunch. Can you take a look at the network
18     that blessing, then we move forward with the            18     traffic and see if that's true or not?" So it just
19     analysis.                                               19     depends.
20 Q     Got it. So I guess what I'm trying to understand      20 Q     Okay. You look at servers for network forensics,
21     is that you've got the image copy of the computer,      21     or is that something different?
22     you want to look for deletions or movement or a         22 A     No, no. Sometimes. You know, I may want to look
23     time line of what has happened here with -- let's       23     at the drives on a server, or if that server
24     just use the example of a former employee. Do you       24     collects logs, those logs may be helpful.
25     then, Mr. Lanterman, run a software program that        25 Q     Okay.
                                                     Page 55                                                       Page 57
 1     you've developed or your company has developed that      1 A So I may ask for logs and not need to collect
 2     flags some of the suspicious markers on this             2   everything off of a server.
 3     computer, or is it more of a manual process where        3 Q What is the difference between network forensics
 4     you've got the mouse and you are just looking at         4   and Internet forensics?
 5     some usual suspect locations on a computer? Does         5 A Yeah. So I would say that the difference is that
 6     that make sense?                                         6   with network forensics, that has to do with your
 7 A     Great question. Both.                                  7   environment. Internet forensics, we -- and you
 8 Q     Okay.                                                  8   know, maybe that's a -- that's a misnomer, but with
 9 A     So you know, we may have tools that will compile       9   Internet forensics, that can be we have a client
10     artifacts showing which websites were being visited     10   and someone is posting derogatory information about
11     and when, or, you know, there may be a registry         11   the client online. They are -- they are submitting
12     that I want to look at. And I don't need to run         12   one-star reviews on Google, and it's causing our
13     software because I know what it is I want to look       13   client a big problem. What -- what can we do to
14     at. I go to that entry. Now I have the serial           14   help.
15     number of a USB device being plugged in, and I have     15 Q Okay.
16     the date and time. So if we -- if we need to run        16 A You know, so I would -- you know, I would say that
17     software, we do that. Like, for example, let's say      17   network forensics, that's kind of in here.
18     if I've collected a bunch of email data -- and this     18   Internet forensics is kind of a broader
19     is not disk forensics -- but let's say you have had     19   environment.
20     me collect email data. And you have to produce          20           THE VIDEOGRAPHER: We are going off the
21     this to opposing counsel but you want to make sure      21   record. The time now is 10:43 a.m.
22     that you are not inadvertently turning over             22           (A short recess was taken.)
23     privileged communications. So you may ask me,           23           THE VIDEOGRAPHER: We are going back on
24     "Mark, I need you to see if there are any emails to     24   the record. The time now is 10:44 a.m.
25     or from anyone at dorsey.com. Then I would run an       25 BY MR. EBNET:

                                                                                                   15 (Pages 54 - 57)
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                                                    Page 58                                                         Page 60
 1 Q    Mr. Lanterman, before we broke, we were discussing     1 Q     How about tracing, what is that?
 2     network forensics and Internet forensics. And as I      2 A     Well, I don't know what -- what you mean by that.
 3     understand it, you described network forensics as       3     Tracing -- how I use it is let's say if someone has
 4     an examination of -- sort of inside the company         4     sent one of your partners a threatening email and
 5     environment, and Internet forensics is a little bit     5     they send -- either anonymously or the sender
 6     broader. You are looking at what's out there and        6     denies they sent that. You know, we can look at
 7     what an employee may have done outside of the           7     that original message and make a determination if
 8     internal network?                                       8     it's authentic or not. You know, just as an
 9 A    Yes. Generally speaking, I mean, Internet              9     example, you know, we were commissioned by CBS to
10     forensics could also be, you know, monitoring          10     analyze the authenticity of Hunter Biden's laptop.
11     social media or threats. Like, for example, let's      11     We were able to confirm that, yep, these emails are
12     say if your client is a -- you know, is an             12     authentic, and it's not a plant. You know, there
13     agricultural product provider. And let's say if        13     are algorithms that are used by email servers, and
14     there are protests because, you know, we don't like    14     most of us don't know that. And, you know, someone
15     what you do to our corn or whatever, we monitor        15     can not tell the truth, and we can prove that they
16     social media looking for -- you know, trying to        16     are not telling the truth.
17     predict things like protests or, you know, what is     17 Q     Got it. So the application of network forensics to
18     the sentiment. Does the -- does the public like        18     this case that you are describing is logging into
19     your company or not like your company. Do they --      19     the K2P platform, right?
20     did they like the CEO or not like the CEO. Did         20 A     Yes.
21     someone post the address of the CEO's kids' school.    21 Q     And the way you did that is counsel sent you a
22     Well, that could be a problem.                         22     username and password, right?
23 Q    Did you apply network forensics to arrive at your     23 A     Yes.
24     opinions in this case?                                 24 Q     And you went to the home page that the log-in link
25 A    Well, I think so. And what I mean by that is          25     would send you, and you used those credentials, is
                                                    Page 59                                                         Page 61
 1     that -- it's how I access the portal. You know, I       1     that right?
 2     didn't go on social media or anything like that,        2 A     Yes.
 3     but you know, I did access the portals over the         3 Q     What is cloud forensics? What sort of evidence do
 4     Internet. So...                                         4     you analyze there?
 5 Q     Did you -- I understand that sniffers and tracing     5 A     So cloud forensics, again, can be a few -- you
 6     is a part of network forensics, is that fair?           6     know, it's different things to different people.
 7 A     It can be.                                            7     But often what it is in my case is
 8 Q     What are those tools?                                 8     misappropriations. It's the theft of data where,
 9 A     So, like, sniffing is the -- I don't know if          9     you know, an example would be if you are leaving
10     interception is the right word, but it's the           10     your employment and you decide that client list --
11     collection of data going over a network wire.          11     you know, that's my list, even though it's the
12 Q     Okay.                                                12     company's list, these are my contacts. I'm taking
13 A     So it is -- you have to be careful doing that        13     it. But I don't want to get jammed up. So I'm
14     because it's a violation of 18 UCS 1030, so you        14     just going to upload it to my personal Dropbox
15     know, it's technically a wiretap when you collect      15     account and no one is going to know. Well, we
16     data over the wire like that. But it can be done.      16     know, and we can prove it. So anything having to
17     That is one thing that hackers do. For example,        17     do with cloud services, like Salesforce or Dropbox
18     if you are on an airplane and if you are using, you    18     or Box or SharePoint, I consider that to be cloud
19     know, Gogo Inflight, well, if I'm sitting in the       19     forensics.
20     back of the plane, I might run a sniffer and now I     20 Q     Okay. Did you apply techniques from cloud
21     have your username and passwords for your New York     21     forensics to the evidence at issue in this case?
22     Times subscription. You know. So that's what           22 A     No.
23     sniffing is.                                           23 Q     Last one I think from the list of five is email
24 Q     Okay.                                                24     forensics. I have a guess on what sort of evidence
25 A     And no, I didn't need to do that here.               25     you analyze, but why don't you tell me what sort of

                                                                                                    16 (Pages 58 - 61)
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 1     evidence do you analyze with email forensics?              1 A    No -- well, yes and no. When a -- when an email is
 2 A     So with email forensics, kind of like the example I      2     in its native original electronic format, it has --
 3     just gave.                                                 3     so and you are referring to it as metadata, but it
 4 Q     Yeah.                                                    4     has associated with it something called headers.
 5 A     If there are emails that are being challenged or         5     And headers can be the originating IP address,
 6     questioned or, you know, they appear to be                 6     which servers did that email pass through to get to
 7     fabricated, you know, we -- we can often determine         7     you. That -- there is an algorithmic value
 8     if emails had been modified after the fact. Like           8     assigned, and that's what -- and it's just an
 9     as an example, let's say there's an email that             9     encrypted line. And we can process that to verify
10     says, "Yes, I'll give you a 50 percent raise."            10     authenticity because that should match -- that
11     Well, in the sender's eye, I didn't say that. That        11     encrypted data should match the unencrypted data.
12     was a 5 percent raise. Well, could it be a typo?          12 Q    Yeah.
13     Absolutely not. I look at the email on his or her         13 A    So if there's a difference -- and most people can't
14     computer, I take a look at the email that was on          14     read that encrypted data.
15     the other side, and, you know, we can -- we can           15 Q    Yep. And so what I'm trying to understand -- and I
16     typically identify that fabrication.                      16     think you've answered the question, but let me just
17 Q     Okay. And as a part of email forensics, are you         17     make sure I'm clear. When Dorsey, for example,
18     looking at metadata that's associated with email as       18     produced emails to opposing counsel that you
19     well?                                                     19     reviewed in this case, there was also some
20 A     Yeah, I think that's fair to say.                       20     metadata, including some of the tags that you are
21 Q     Okay. In this case you did review email                 21     describing now that was produced. But for purposes
22     correspondence that had been produced in discovery,       22     of your review, when you are trying to get context,
23     right?                                                    23     those bits of information weren't important to you
24 A     Yes.                                                    24     as you looked at the emails. Is that fair?
25 Q     But your focus there, I take it, was a little bit       25              MS. MUIRHEAD: Objection, form.
                                                       Page 63                                                         Page 65
 1   different than some of the email forensics you are           1           THE WITNESS: You know, I don't -- I'm
 2   describing now. If I'm understanding what you say            2   hesitant to say it wasn't important. And I don't
 3   in your report, it's that you looked at emails to            3   know what format Dorsey produced in, but I received
 4   kind of stitch together the time line of events              4   PDFs. And when a -- when an email is printed to a
 5   that happened in this case, is that fair?                    5   PDF file, it will typically lose the header
 6           THE WITNESS: Yes.                                    6   information, but it will contain the data that you
 7           MS. MUIRHEAD: Objection, form.                       7   would see if you printed it to a piece of paper.
 8 BY MR. EBNET:                                                  8 BY MR. EBNET:
 9 Q But the email forensics that you are describing              9 Q And so things like the day and time it was sent.
10   here is a little bit different. Was there                   10   You were able to see that, of course, right?
11   manipulation of an email, for example, is that              11 A Yes.
12   right? That is one of the things that you do for            12 Q And you were able to see the substance of what the
13   email forensics?                                            13   authors of those emails were saying?
14 A Yes.                                                        14 A Yes.
15 Q You look at the metadata, for example?                      15 Q And that's -- that sort of information is what you
16 A Yes.                                                        16   used for the context that you were describing as
17 Q And you didn't do those particular things in this           17   you then went on to do the analysis of the learning
18   case when you were looking at the emails?                   18   platforms, is that right?
19 A No. When reviewing the emails, that was done to             19 A Yes.
20   get some context. So I wasn't analyzing the emails          20 Q Okay. Your CV, Mr. Lanterman, also indicates that
21   I received for fabrication or anything like that.           21   you are a co-author of an e-discovery desk book,
22 Q All right. And you described getting them in a PDF          22   right?
23   document. Did you have the metadata that was                23 A Yes.
24   associated with the emails when you received those          24 Q And?
25   documents?                                                  25 A Now I'm co-author and an author.

                                                                                                       17 (Pages 62 - 65)
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                                                        Page 66                                                       Page 68
 1 Q    Okay.                                                      1     evidentiary findings in a way that you get it, or
 2 A    So I have -- it just came out last week.                   2     more importantly, in a way that the fact finder
 3 Q    Okay. So what is the -- so I'm familiar with your          3     understands it, then really -- if I can't do that,
 4     co-authored chapter, which I think is Forensic              4     I bring no value. So I think it is important when
 5     Experts, When and How to Leverage the Talent?               5     you are working with an expert, to work with an
 6 A    You are good.                                              6     expert who's not so techy that you don't understand
 7 Q    Got it written down. What is the chapter that you          7     what he or she is saying.
 8     are the solo author for?                                    8 Q     And that value that you and others in your field
 9 A    So -- and that just came out. I wrote a chapter on         9     bring, is part of that because if I was looking at
10     digital -- leveraging digital forensics in criminal        10     digital evidence, I very likely wouldn't understand
11     cases.                                                     11     what I'm looking at, and your job is to take that
12 Q    Okay. Well, I look forward to reading that. Is it         12     digital evidence and tell me and others in a way
13     fair to say that you did not apply that expertise          13     that makes sense what it is that that evidence
14     because it would relate to criminal proceedings to         14     says. Is that fair?
15     this case?                                                 15              MS. MUIRHEAD: Objection, form.
16 A    Yeah, correct.                                            16              THE WITNESS: Yes and no. I don't want
17 Q    Well, I will ask you just a few questions about the       17     to say you would look at something and not
18     chapter that I have read. Who's your co-author?            18     understand it. What my experience is, is you may
19 A    John Degnan, D-E-G-N-A-N, and he's with -- well,          19     look at something and misinterpret it. As an
20     they used to be Briggs, now they are Taft.                 20     example, we have multiple cases in which
21 Q    Okay. A lawyer, I take it?                                21     individuals have been charged with inattentive
22 A    A lawyer.                                                 22     driving by the BCA, or they did the forensics, and
23 Q    Okay.                                                     23     it turns out that the BCA misinterpreted that data.
24 A    And John's role in that chapter was as editor. You        24     And we had been hired by the defense on a number of
25     know, so I wrote the chapter, and then John added a        25     cases, and I -- I have a transcript in which a BCA
                                                        Page 67                                                       Page 69
 1     sentence here and there.                                    1   agent said, "Oh, yeah, Lanterman is right. We made
 2 Q    Okay. Okay. In your chapter you write that "A              2   a mistake. And it's -- it is easy to misinterpret
 3     forensic expert conducts the analysis on the data           3   something. You know, you may look at a piece of
 4     and then presents the data and devices to the legal         4   evidence and say, "Oh, my gosh, this is so obvious.
 5     team. This always involves complex technical                5   Get a -- you know, that's why we do peer review,
 6     findings." Does that sound about like something             6   because I don't want to get in the habit of looking
 7     you may have written?                                       7   at something thinking, "Oh, yeah, I get this."
 8 A    Sounds like something John wrote.                          8 BY MR. EBNET:
 9 Q    Okay.                                                      9 Q Okay.
10 A     You know, not all findings are super complex.            10 A You know, I want to make sure that we are right.
11 Q     Okay.                                                    11 Q The example that you gave with the BCA is
12 A     And I'll make sure that that gets corrected in the       12   interesting to me because there you've got somebody
13     next.                                                      13   with presumably technical expertise --
14 Q     You also write that the job of a computer forensic       14 A Presumably.
15     expert is to be a translator for digital evidence.         15 Q -- misinterprets the data, as you've described it.
16     Do you recall that?                                        16   What about the case where you're telling a juror
17 A     Yes, I wrote that.                                       17   who doesn't have the same experience as the BCA, do
18 Q     What does it mean to be a translator of digital          18   you have the same misinterpretation concern, or is
19     evidence?                                                  19   it trying to tell an ordinary person what it is
20 A     I think the problem is that IT people, we are            20   that they are looking at?
21     horrible communicators. And I bet you know that            21 A Yeah. Again, a good question. I think the problem
22     firsthand. We use technical terms that no one else         22   coming in -- and I'll stick to this example. I
23     understands, and we kind of like it that way               23   think the problem comes in when you have an agent
24     because we think it's job security. But the                24   from the BCA under the imprimatur of a state law
25     problem is if I cannot explain to you complex              25   enforcement agency giving information and

                                                                                                       18 (Pages 66 - 69)
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                                                      Page 82                                                        Page 84
 1     Way." And the Elvis Presley version and the Sid           1 Q     To be clear, you have not seen evidence that CWS
 2     Vicious version are derivative of the Frank Sinatra       2     took the source code belonging to K2P and then
 3     version. The -- the key maybe different, maybe a          3     added some nuance to that specific source code,
 4     couple of words changed here and there, maybe the         4     that's not what you are saying in this case, right?
 5     tempo -- I'm not a musician, but, you know, like          5 A     I -- I am not saying that. No. And to be clear,
 6     the tempo of things may be a little different. But        6     I've seen no evidence to indicate the theft of
 7     the fact is without Frank's version, there would          7     source code. What I am saying is I really like
 8     not have been a Presley version or a Sid Vicious          8     your chair, but I don't want to pay for it. I'm
 9     version the way that they turned out without that         9     just going to build my own. So I'm going to
10     initial building block. And it's -- it's my              10     measure it, I'm going to weigh it, I'm going to get
11     opinion that K2P's version is Frank, and everything      11     a sample of the leather, and I'm going to -- I'm
12     that came after is a derivative from that original.      12     going to build a chair that's derivative of the one
13     So I know that's kind of a -- you know, unusual          13     that you are sitting in.
14     explanation, but I thought that it was one way to        14 Q     Okay. Some of what we are talking about right now,
15     kind of explain my position.                             15     I think, is embodied in paragraph two of your
16 Q    I'll do my best to -- my best to continue that          16     report, which I would like you to look at. So in
17     example in asking my questions.                          17     the -- after the comma, I see a sentence that says,
18 A    Okay.                                                   18     "Mayo looked to the programmed functionality of
19 Q    So implicit in your findings in this case is that       19     K2P's platform to develop its own product." Do you
20     the K2P version of the platform and the features         20     see that?
21     and functionalities that you observed there are the      21 A     Yes.
22     Frank Sinatra. They are the original, right?             22 Q     And I asked you about programmed functionality
23 A    Yes.                                                    23     earlier, and what I took you to say -- but I trust
24 Q    And so just like if Frank Sinatra's version of the      24     that you'll correct me if I'm wrong -- is that
25     song wasn't the original, and there was somebody         25     that's how a website functions and looks when
                                                      Page 83                                                        Page 85
 1   before him who authored that song, if that is also          1   viewed by a user. Is that right?
 2   true in this case, that would change your opinion?          2           MS. MUIRHEAD: Objection, form.
 3            MS. MUIRHEAD: Objection, form.                     3   Objection to the extent it misstates prior
 4            THE WITNESS: Well, there was a version             4   testimony.
 5   before Frank Sinatra -- and most people don't know          5           THE WITNESS: Yes, but also -- so by
 6   it, but David Bowie wrote the words for it. So I            6   functionality, I'll say that means what it does.
 7   thought that was kind of interesting. What -- what          7 BY MR. EBNET:
 8   I am saying is it is -- and I think Mr. Robinson            8 Q And let me pause there just for a moment,
 9   testified to this as well, it is easier to build            9   Mr. Lanterman. Is there a difference between
10   off of something that is already in place than to          10   functionality and programmed functionality?
11   start from scratch. And I believe that's what Mayo         11   Because you use the word "programmed
12   did. I believe that K2P offered the functionality          12   functionality," so I want to make sure that's what
13   that Mayo wanted. I have seen emails saying "This          13   we are talking about here?
14   is what we like. Do something like this." And CWS          14 A Yeah. And I'm sorry, I should have been clear.
15   did that. Okay. So I'm not saying that Elvis               15   No, I'm taking that phrase all in one.
16   broke into Frank's house and stole the sheet music,        16 Q Okay.
17   but I'm saying that the spirit went along for the          17 A So all that programmed functionality means is
18   ride. And it was the functionality and the ability         18   someone wrote it to do something specific. You
19   to build on a song that was already written, so...         19   know, what -- what action occurs, you know, what do
20 BY MR. EBNET:                                                20   you see when you click on this button versus this
21 Q Okay. I want to try to clean up one thing. I               21   button?
22   thought I heard you say -- you said it's easier to         22 Q Okay.
23   build off of something that already exists. Did I          23 A It's how it functions.
24   hear that right?                                           24 Q Okay. And when you say "what you see," you are
25 A Yes.                                                       25   talking about what a user would see?

                                                                                                     22 (Pages 82 - 85)
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                                                     Page 86                                                        Page 88
 1 A     That's correct.                                        1   reviewed, I want that on either the first or the
 2 Q     You looked at -- when you did your analysis, that      2   second page." You know, I'm giving you a guide.
 3     I'll talk about in a little bit, you saw the same        3   And if I give you a guide, when you go to write
 4     things that a user would see when they logged in,        4   your next report, that hopefully will save you some
 5     for example, to the K2P platform?                        5   time because you know what information goes where.
 6 A     Yes.                                                   6 Q That's also true, is it not, if you are the author
 7 Q     Okay.                                                  7   of that previous guide. For example,
 8 A     And if I could add one thing, you know, I'm a          8   Mr. Lanterman, if you've reviewed many cell phones
 9     visual person, so I like little screenshots. So if       9   in the past and you have a template, obviously the
10     you go to page 11 of my report --                       10   facts change, but you have a template for how you
11 Q     Well, Mr. Lanterman, I'm going to stop you. I'm       11   write a report that analyzes a cell phone and the
12     sorry, I'm going to stop you there. We will             12   data therein. That working example, if it's your
13     absolutely get on to page 11 --                         13   own, that also saves you time in the future, right?
14 A     Oh, okay.                                             14           MS. MUIRHEAD: Objection, form.
15 Q     -- but let me --                                      15           THE WITNESS: Absolutely, but that's
16 A     I'm sorry.                                            16   not what happened here.
17 Q     -- continue here for a little bit.                    17 BY MR. EBNET:
18 A     Sure.                                                 18 Q Okay. If you would, please, turn to page 17 of
19 Q     No problem. From a programming perspective, you       19   your report -- or I'm sorry, paragraph 17 on page
20     don't know how the features that you observed on        20   4?
21     the K2P platform were built, right?                     21 A 17?
22 A     That's hard to answer.                                22 Q Yep, paragraph 17, my mistake.
23 Q     Let me ask a different question then. You didn't      23 A That's okay. Okay.
24     speak -- you testified earlier that you didn't          24 Q Did you collect any digital evidence in order to
25     speak to any of the developers that had written the     25   conduct your analysis in this case?
                                                     Page 87                                                        Page 89
 1     code that drives the K2P platform, right?             1 A       I did. I created screenshots.
 2 A    That's -- that's correct.                            2 Q       Okay. Are the screenshots that you created the
 3 Q    You were not there when the platform was developed, 3        ones that are in your report?
 4     right?                                                4 A       At least one of them is, yes.
 5 A    That's correct.                                      5 Q       Which one is that? I see three figures, Figure 1,
 6 Q    You don't know the time or expense it took either    6       Figure 2, and Figure 3. Which is the screenshot?
 7     K2P or CWS to build the K2P platform and the MedEd 7 A          So Figure 1, Figure 2, and Figure 3.
 8     Manager platform respectively, right?                 8 Q       Those are screenshots, Mr. Lanterman --
 9 A    That's correct.                                      9 A       Yes.
10 Q     And there might be some, again, imprecision here,  10 Q       -- that you took? And you took those screenshots
11     so forgive me, but you also don't know the coding,   11       when you logged on using user credentials that you
12     the coding language that was used for the K2P        12       had been provided in this case, right?
13     platform, right?                                     13 A       Yes.
14 A     That's correct.                                    14 Q       Other than these screenshots, did you image any
15 Q     And you also don't know the coding language that   15       digital evidence in this case?
16     was used for the MedEd Manager platform?             16 A       Imaged as in creating forensic images?
17 A     That's correct.                                    17 Q       Exactly, the process you were describing to me
18 Q     Do you know how much time it took CWS to build the 18       earlier?
19     MedEd Manager platform?                              19 A       Well, I asked for Ms. Babcock's computer, but I was
20 A     I don't, but I will say that when you have a       20       told that Mayo destroyed it. So I did not have an
21     working example, it can help you save time. So,      21       opportunity to image that. I'm trying to think if
22     you know, for example, if I put a report in front    22       I asked for any other. I know that I asked for the
23     of you and I say, "Okay, this is how I want reports  23       source code, and I didn't receive that. I don't
24     to look. I want an introduction here and then I      24       think I forensically imaged data in this case.
25     want a heading that says, you know, materials        25 Q       Does taking a screenshot like you did in this case

                                                                                                    23 (Pages 86 - 89)
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                                                     Page 102                                                       Page 104
 1           THE WITNESS: No.                             1            of you?
 2           MR. EBNET: Okay. Why don't we stop           2 A           I do.
 3   there. Let's take about an hour break and we can     3 Q           Okay. And here you identify six features that Mayo
 4   resume.                                              4            purportedly instructed CWS to create on a platform.
 5           THE WITNESS: Okay.                           5            Do you see that?
 6           THE VIDEOGRAPHER: We are going off           6 A           Yes.
 7   record at 11:46 a.m.                                 7 Q           There are content library, right?
 8           And this concludes Media Unit Number 2.      8 A           Yes.
 9           (A short recess was taken.)                  9 Q           Test assessments?
10           THE VIDEOGRAPHER: We are going back on 10 A                Yes.
11   the record at 12:46 p.m. This is the beginning of   11 Q           Personalized learning?
12   Media Unit Number 3.                                12 A           Yes.
13 BY MR. EBNET:                                         13 Q           Maintenance of certification credits?
14 Q Mr. Lanterman, I want to clean up a few things that 14 A           Yes.
15   I neglected to ask you about in the first half of   15 Q           Note-taking capability?
16   the day. You recall that we had a discussion about  16 A           Yes.
17   some of the categories of forensics that your       17 Q           And finally an option for video or audio
18   company routinely participates, things like disk    18            presentations. Do you see that?
19   forensics. Do you recall that discussion?           19 A           Yes, I do.
20 A Yes.                                                20 Q           Okay. Have you investigated whether any of these
21 Q And one of the categories was internet forensics,   21            six features were available on learning management
22   do you recall that?                                 22            systems other than K2P?
23 A Yes.                                                23 A           Well, I did review the deposition transcript of
24 Q And I neglected to ask, did you apply internet      24            Mr. McGinnis, and I believe, if I recall -- it's
25   forensics to the evidence at issue in this case?    25            been a while since I've reviewed that -- but I
                                                     Page 103                                                       Page 105
 1 A    Well, I did use the internet to conduct an               1     believe that Mr. McGinnis stated that these
 2     analysis. I would say yes.                                2     features had not been in place.
 3 Q    Beyond using the internet to access the K2P              3 Q    Okay. So setting aside the testimony of
 4     platforms, were there any forensic programs that          4     Mr. McGinnis, have you conducted an independent
 5     you used for internet forensics?                          5     investigation into whether or not these six
 6 A    Well, I used a web browser to access the portals --      6     features were available on other platforms?
 7 Q    Google?                                                  7 A    I thought that Mr. McGinnis answered the questions
 8 A    -- to conduct my analysis.                               8     that I had. So other than reviewing his testimony,
 9 Q    Like Firefox or --                                       9     which I assume was under oath and truthful, I
10 A    Yeah, Chrome.                                           10     conducted no independent analysis.
11 Q    Chrome is what you used? Okay. Do you have a            11 Q    You mentioned earlier, I think in connection with
12     version of Chrome that is different from the             12     your teaching work, a learning management system
13     version of Chrome I have on my computer?                 13     called Canvas. Did I get that right?
14 A    I don't know. I always use the most current             14 A    Yes.
15     version. So if you too are using the most current        15 Q    Is that the one that's used at Hamline or
16     version, then yes.                                       16     St. Thomas or both?
17 Q    Okay. So other than needing to access the K2P           17 A    I think they both use it.
18     platform and the MedEd Manager platform online,          18 Q    Okay. And you used that learning management system
19     anything else from the internet forensics                19     to teach your course?
20     discipline that you applied to reach your opinions       20 A    Yes. That's the platform that the -- that the
21     in this case?                                            21     school has invested in. So, you know, all classes.
22 A    No, I didn't -- I don't think anything else was         22     And, you know, all classes with remote students
23     necessary.                                               23     utilize that platform, to the best of my knowledge.
24 Q    Mr. Lanterman, if you turn to paragraph 29 of your      24 Q    Okay. And how do you specifically interact with
25     report. Do you still have that document in front         25     the Canvas platform in connection with your

                                                                                                  27 (Pages 102 - 105)
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                                                      Page 106                                                         Page 108
 1     teaching responsibilities?                                 1 Q    And then the third is the Mayo internal medicine
 2 A    Through a web browser. I need to go to a specific         2     course, right?
 3     URL. I authenticate using a username and password,         3 A    Yes.
 4     and then I'm presented with the Canvas portal, and         4 Q    Okay. So the Mayo CV course portal, that is the
 5     then from that portal I can manage my class. So I          5     MedEd Manager platform, is that right?
 6     can upload my recorded lectures. I can -- well,            6 A    That's my understanding.
 7     one thing that I like to do is I like having my --         7 Q    Okay. For the K2P portal, how much time did you
 8     my students discuss weekly the latest cyber event          8     spend on that platform to conduct your analysis?
 9     in the news -- and there's always multiple -- so           9 A    I believe -- boy, I hate to guess, I believe it was
10     just monitoring how comments are made. I -- I have        10     about two to three hours.
11     a calendar so that students know when assignments         11 Q    Okay. Same question for the MedEd Manager
12     are due or when quizzes or tests are coming up.           12     platform, how long did you spend there to conduct
13 Q    Are the -- are the quizzes or tests administered         13     your analysis?
14     through the portal or is that in person?                  14 A    I believe about the same.
15 A    That's through the portal.                               15 Q    And just to be clear, that's an additional two to
16 Q    Do you grade the assignments or tests through the        16     three hours?
17     portal?                                                   17 A    Yes.
18 A    Well, I -- I review what's there, but then with          18 Q    All right. And then same question for the last
19     assignments, I print them out, I grade them, and          19     platform, this Mayo internal medicine course, did
20     then I upload the grades. So I would say it's a           20     you log in there?
21     combination of both.                                      21 A    I don't recall. If I did, it would be in my
22 Q    I understand. Fair to say that your students, to         22     report. I'm drawing a blank on whether I did or
23     get your remarks if you have any and their grade          23     not.
24     for the assignments, they log in to the portal and        24 Q    Well, I'll ask you some additional questions on
25     access that information that way?                         25     what you did and what you didn't, so we'll probably
                                                      Page 107                                                         Page 109
 1 A     Yes and no. Often I will -- you know, if it's            1     arrive at an answer --
 2     appropriate, I will communicate via -- via email.          2 A     Okay.
 3     Sometimes if -- maybe if a student isn't doing             3 Q     -- as we go through here. Let's -- let's return
 4     well, I would prefer to reach out to them privately        4     then to the K2P platform.
 5     and just ask if, you know, is everything okay. You         5 A     Okay.
 6     know, is there anything I can do to help you               6 Q     And walk me through how you got there. You know,
 7     succeed? So I try to do that privately.                    7     what was your process to get in and then start
 8 Q     Okay. Are any of the quizzes as a part of your           8     conducting your analysis?
 9     classes -- are they multiple choice or essay               9 A     Sure. Is that described in my report? Is there a
10     format?                                                   10     paragraph you want to direct me to?
11 A     Both.                                                   11 Q     No, for this I would just like as you sit here
12 Q     Okay. All right. Let me return now,                     12     today, if you could tell me what your analysis was?
13     Mr. Lanterman, to your opinions in this case. And         13 A     And this was of the K2P?
14     I want to specifically focus now on the three             14 Q     K2P platform, yep.
15     learning platforms that you describe in your              15 A     So with the K2P platform, I was supplied a URL and
16     report, and then the analysis that you conducted of       16     a username and password. I logged in. I walked
17     them, okay?                                               17     through the different pages, clicked on the
18 A     Okay.                                                   18     different buttons. I took a test. I failed the
19 Q     All right. So the three learning management             19     first time, I think I passed the second time, but
20     systems that I take away from your report that you        20     the first one was not a good score. I took notes,
21     reference are the K2P portal. We've talked about          21     took some screenshots. I was really focusing on
22     that, right?                                              22     the -- the experience, what's it like, you know, if
23 A     Yes.                                                    23     I were a student. Is this organized? Is this
24 Q     The Mayo CV course portal, right?                       24     intuitive? So...
25 A     Yes.                                                    25 Q     When you first log in, you enter the username and

                                                                                                    28 (Pages 106 - 109)
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 1     password and clicked the proceed or log-in button,       1     looked at the code that was presented to the
 2     whatever it says, do you land at a home page?            2     browser, there are inspections that can be done.
 3 A    Yeah, that's my recollection.                           3     I -- I looked at that. There was nothing that
 4 Q    And then from there, how did you decide where to        4     jumped out at me as, you know, being important
 5     go?                                                      5     enough to include in my report.
 6 A    Whatever was in front of me. I wanted to click on       6 Q     Okay. If I wanted to replicate, Mr. Lanterman, the
 7     many things. I wanted to experience as much of the       7     pathway that you took as you looked at the K2P
 8     portal as I could. I don't recall which order I          8     platform, how would I do that?
 9     went in. It's been a few months since I've looked        9 A     You would open up a browser, you would put in the
10     at this, but I -- I did not limit myself. I wanted      10     proper URL, you should get the same credentials
11     to see, you know, what was there and how students       11     that I had been provided, and then once you
12     would navigate.                                         12     authenticate, click on everything you see.
13 Q    Is it fair to say, Mr. Lanterman, that you put         13 Q     You don't have a list, do you, Mr. Lanterman, of
14     yourself in the position of any user who might be       14     the order in which you clicked on the various
15     accessing the K2P platform?                             15     links?
16 A    Yes.                                                   16 A     No.
17 Q    To your understanding, you saw what an ordinary        17 Q     You don't have a list of all of the links you
18     user would see when they logged on?                     18     clicked on, right?
19 A    An ordinary user with credentials, right?              19 A     No, just every link that I saw, everything that was
20 Q    And you get those credentials by purchasing the        20     clickable, I clicked on.
21     course, is that your understanding?                     21 Q     And I take it you saw more available on the K2P
22 A    That is my understanding. And this -- in this          22     platform than is presented in the three figures in
23     case, I did not purchase credentials.                   23     your report, right?
24 Q    I'm glad you didn't.                                   24 A     Yes.
25 A    I received them.                                       25 Q     Same question for the MedEd Manager platform, when
                                                    Page 111                                                         Page 113
 1 Q Yep. Did you click on every link that was                  1     you were conducting your analysis, you saw more
 2   available to you on the K2P platform?                      2     information than it captured in the three figures
 3 A Every -- every link that I could see. So my answer         3     in your report, right?
 4   is yes. But if there was something hidden, I -- I          4 A    Yes.
 5   would not have seen that.                                  5 Q    If you look at paragraph 16 of your report,
 6 Q When you logged on to the K2P platform, did you run        6     Mr. Lanterman, which is on page 4 --
 7   any forensic diagnostics to compare or evaluate            7 A    Okay. Okay.
 8   what you were looking at?                                  8 Q    -- as I read this paragraph, you state -- and we've
 9           MS. MUIRHEAD: Objection, form.                     9     touched on this a little bit previously, but that
10           THE WITNESS: No, I didn't think that              10     you were not provided anything that was not
11   that would be necessary. I didn't believe that            11     observable simply by accessing the portal as a
12   that was part of my objective. I wasn't trying to         12     user. Do you see that?
13   dissect. I wasn't trying to do, you know, an              13 A    Yes.
14   evaluation as to whether the code was well written        14 Q    And you agree as you sit here today?
15   or not. Again, I wanted to -- I wanted to put             15 A    Yes.
16   myself in the shoes of the user and document what         16 Q    All right. I want to drill down a little bit more,
17   that user experience was.                                 17     Mr. Lanterman, on the specific course that you
18 BY MR. EBNET:                                               18     looked at. So if you turn to page 9 of your report
19 Q And to be clear, when you say you weren't doing an        19     and actually look at the footnote there, do you see
20   analysis of the source code, at least as it relates       20     that footnote?
21   to logging in, you could not see the source code          21 A    Yes.
22   when you logged in using the user credentials that        22 Q    Let me know when you are ready.
23   you had been provided?                                    23 A    Okay.
24 A Yeah. I could not see the source code in its              24 Q    Here as I read this, you describe a comparison you
25   entirety. I wasn't provided that. Certainly I             25     conducted of this 2020 Interventional Cardiology

                                                                                                  29 (Pages 110 - 113)
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                                                    Page 114                                                        Page 116
 1     Online Board Review course. That's the one hosted        1     K2P platform?
 2     on MedEd Manager. And you compared that to the           2 A     Yeah, my -- and again, I hate to guess, but my --
 3     Mayo Clinic Interventional Cardiology Online Board       3     my vague recollection is they were all pretty
 4     Review, which is the one hosted on K2P's platform.       4     similar to this. But again, it's been a while
 5     Do I have that right?                                    5     since I've looked. But my recollection is that
 6 A    Yes.                                                    6     this is representative of what the other ones
 7 Q    Do you understand that Interventional Cardiology        7     looked like as well.
 8     Online Board Review course to be one of the              8 Q     And I'm not trying to belabor the point, I'm just
 9     subspecialty courses at issue in this case?              9     trying to understand. I thought you had just said
10 A    Yes, that is my understanding.                         10     that you -- first, you didn't know whether there
11 Q    Okay. How did you decide to analyze this specific      11     were other courses available or not, and then
12     course?                                                 12     second, that you didn't click into all of those
13 A    Well, I don't recall exactly what my thought           13     courses. I'm hearing something a little bit
14     process was. I believe I thought that it would be       14     different now, so help me understand.
15     a good example.                                         15 A     Yeah, so I don't specifically recall because it's
16 Q    Did you conduct this -- well, first, let me ask,       16     been a while. But as I sit here and I'm looking at
17     were there other board review courses available on      17     Figure 1, I do remember seeing that for other
18     the K2P platform in the MedEd Manager platform?         18     courses. But again, it's -- it's been a while.
19 A    I don't recall. It's been a few months since I         19 Q     Okay. So the third platform that we talked about
20     looked at that.                                         20     at the outset was this Mayo internal medicine
21 Q    Okay. Do you have any reason to disagree, with my      21     platform, do you recall that?
22     representation that there are many courses              22 A     Yes.
23     available on the two platforms?                         23 Q     And it's my understanding that the Mayo internal
24 A    Well, I have no reason to disagree with the caveat     24     medicine course was hosted on an entirely different
25     that I've not looked at it in a few months.             25     platform today called Ethos. Are you aware of
                                                    Page 115                                                        Page 117
 1 Q    Okay. The analysis that you describe in your            1     that?
 2     report that relates to this Interventional               2 A    I believe that I am aware of that.
 3     Cardiology course, did you replicate that analysis       3 Q    And the analysis that I see on paragraphs 31
 4     for any of the other potential courses that may be       4     through 34 in your report --
 5     on the two platforms?                                    5 A    I'm sorry, 31 through 34?
 6 A    If I did, it would be in my report.                     6 Q    Yeah, it's essentially the end of your analysis --
 7 Q    And I don't see it there. Do you recall there           7 A    Okay.
 8     being a separate section in your report talking          8 Q    -- in this section, yes.
 9     about other courses?                                     9 A    Okay.
10 A    No. I think I chose to focus on this as an             10 Q    When I read those paragraphs, it appears to me that
11     example.                                                11     they all relate to this comparison that you
12 Q    Okay. And I know it's been a few months, but how       12     conducted between the MedEd Manager platform and
13     did you make the determination that that would be a     13     the K2P platform?
14     representative example for the other courses or         14 A    Uh-huh, correct.
15     information that is available in the platforms?         15 Q    You are not expressing an opinion here about
16 A    Well, I didn't think that it would be helpful for      16     whether the internal medicine platform, this Ethos
17     me to do this type of comparison for every course,      17     system, is similar or different compared to the K2P
18     so I -- I chose this one. There was no, you know        18     platform?
19     there was no specific reason, it was just -- just       19 A    Yeah, I chose this as the example.
20     the one I chose.                                        20 Q    Right. And to drill down even further, you chose
21 Q    So you don't know, for example, Mr. Lanterman,         21     not only this subspecialty course which we've
22     whether Figure 1 in your report that's on               22     talked about, but you've chosen specifically the
23     page 11 -- whether the information that's provided      23     MedEd Manager platform, not the Ethos platform to
24     there is the same or different between the              24     do your comparison?
25     available courses -- other available courses on the     25 A    I believe that's correct, yes.

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                                                     Page 134                                                        Page 136
 1     there an underlying content that they have to be          1   said that.
 2     tied to, is that fair?                                    2 BY MR. EBNET:
 3 A     I don't know if it has to be anchored. It could         3 Q Okay. Well, let me just ask you that question
 4     be. I guess it could be anchored, but I don't know        4   then.
 5     if it has to be anchored.                                 5 A Okay.
 6 Q     All right. Let's -- let's turn to G, subpart G,         6 Q Is there significant additional material available,
 7     which is course evaluations. That's on page 11.           7   for example, on the K2P platform beyond the two
 8 A     Okay.                                                   8   figures that you set forth here that relate to that
 9 Q     Does the Canvas platform allow your students,           9   platform?
10     Mr. Lanterman, to review you as an instructor?           10           MS. MUIRHEAD: Objection, form.
11 A     I know that there are evaluations. I don't believe     11           THE WITNESS: Well, the underlying
12     that that is done through Canvas. I believe that         12   material, when once you start clicking through the
13     that is a separate communication from my                 13   links, would be additional materials. I did not
14     supervisors, like the people that write my checks        14   create screenshots for everything that came up on
15     to the students, "Hey, we want to make sure that         15   my screen.
16     you had a good experience. What did you like?            16 BY MR. EBNET:
17     What didn't you like? How would you rate this?           17 Q Okay. And that's exactly what I'm asking.
18     What could we do better? What did you think about        18 A Sure.
19     the materials? You know, did it fulfill your             19 Q So you didn't take a screenshot of the actual
20     expectations?" and then it's -- that it's submitted      20   lecture that's available online, right?
21     back.                                                    21 A That's correct.
22              So normally I initially get bypassed in         22 Q Or all of the test questions that are available
23     that. It goes to my associate dean, and then it          23   online?
24     filters back to me, like, usually pretty quickly.        24 A That's correct.
25 Q     Okay. Is it your opinion, Mr. Lanterman, that K2P      25 Q Or the content recommendations that you received
                                                     Page 135                                                        Page 137
 1     invented the concept of submitting performance       1          after taking the examinations, right?
 2     reviews or any sort of reviews about instructors     2 A          That's correct.
 3     and faculty?                                         3 Q          And I take it from your testimony -- and this is
 4 A     No.                                                4          something I do think you said earlier -- that you
 5 Q     All right. Let's turn to paragraph 34 now in the   5          do not have a repository somewhere else outside of
 6     subsequent three diagrams that you set forth in      6          this report documenting the various other
 7     your report. How did you -- we've talked about -- 7             screenshots of other parts of the K2P platform?
 8     a little bit about how -- the process in which you   8 A          Correct. This is the totality of my opinion.
 9     captured these, which are all screenshots, I take    9 Q          Yep. In Figure 1, what are you comparing here?
10     it, right?                                          10 A          Well, I'm comparing the organization and features
11 A     Yes.                                              11          of K2P's portal to the Mayo's portal.
12 Q     How did you decide on these specific -- three     12 Q          Okay. What would you call the -- the information
13     specific figures as opposed to all of the other     13          that's presented on the K2P portal and the MedEd
14     information that was available for this             14          Manager portal that you are setting forth here. Is
15     Interventional Cardiology course?                   15          this a table of contents? A syllabus? What would
16 A     Well, I thought that these were good              16          you call this?
17     demonstratives. So there's -- you know, really      17 A          Well, I would call this -- you know, I guess, you
18     nothing other than these were the examples that I 18            know, any of the descriptions you just said would
19     chose to include.                                   19          be fine. I would refer to them as functions or
20 Q     And based on the testimony that you've provided 20            links. These are gateways to another place that a
21     today, I understand there is significant additional 21          learner may want to go to.
22     material available to a user and available to you 22 Q            Once you selected, Mr. Lanterman, the
23     that is not represented in these figures, right?    23          Interventional Cardiology course. Was this the --
24              MS. MUIRHEAD: Objection, form.             24          a portion of the first screen that you arrived at?
25              THE WITNESS: Yeah, I don't know that I 25              Do you understand what I'm asking?

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                                                    Page 138                                                     Page 140
 1            MS. MUIRHEAD: Objection, form.                    1 Q Yep. And I see the arrows, and my --
 2            THE WITNESS: Yes.                                 2 A Right.
 3 BY MR. EBNET:                                                3 Q -- question, which you've answered, is the only
 4 Q Okay. Yes, you understand, or yes --                       4   identical term is faculty, right?
 5 A Yes, I understand, and yes, this is where I landed.        5 A Yes.
 6 Q Okay. Great. And on that landing page, is this a           6 Q Okay. In other words, there are surface level
 7   portion of the information that you could see there        7   differences, the visual differences that you noted
 8   or was this the entire page?                               8   earlier between the two platforms?
 9 A Yeah, I don't recall. Yeah, I just don't recall.           9 A Yes, as referenced in paragraph 32.
10 Q That's fair. And so you don't know as you sit here        10 Q Right. Some of the things that I see -- you know,
11   today one way or the other if, for example, on the        11   K2P's platform has icons, and Mayo's does not. Do
12   K2P table of contents there is additional                 12   you see that? Icons next to the link?
13   information displayed to the right or the left of         13           MS. MUIRHEAD: Objection, form.
14   what you've got in Figure 1 here?                         14           THE WITNESS: I do, yes.
15 A Yeah, I don't recall. I think that the screenshot         15 BY MR. EBNET:
16   is the -- the total page, but again, I don't want         16 Q Mayo has an "announcements" link, do you see that,
17   to -- want to guess. So I don't know.                     17   Mr. Lanterman?
18 Q And the -- if it's a portion or the entire page,          18 A Yes.
19   you selected this because you thought it was a good       19 Q And K2P's does not?
20   demonstrative of the functionality between the two        20 A Correct.
21   platforms, right?                                         21 Q And I don't see an arrow pointing between anything
22 A I did, yes.                                               22   on the K2P side to the announcement side, right?
23 Q Okay. And just to be clear, K2P's platform is on          23 A Correct.
24   the left, the MedEd Manager platform is on the            24 Q Mayo's has a "getting started" and "event
25   right in Figure 1?                                        25   dashboard," and I don't see any arrow linking those
                                                    Page 139                                                     Page 141
 1 A    Yes.                                                    1   to the K2P platform, is that right?
 2 Q    You added the arrows, right, Mr. Lanterman?             2 A That's correct.
 3 A    Yes.                                                    3 Q Let's turn to the next page, Mr. Lanterman. And
 4 Q    And what do they mean?                                  4   move on to Figure 2. Actually, I apologize, one
 5 A    Well, I am trying to illustrate for the reader          5   more question about Figure 1?
 6     the -- the comparison. I'm trying to take the            6 A Sure.
 7     content of the left-hand side and direct the             7 Q You told me that you have an arrow between
 8     reader's attention to the course-responding              8   "personalized learning" and "pre-assessment and
 9     functionality on the right-hand side.                    9   post-assessment" because, if I'm understanding you
10 Q    So let's just start with the top one. Why did you      10   correctly, when you click on "personalized
11     decide to draw an arrow between personalized            11   learning" for K2P, you go to pre-assessment and
12     learning on the left and then pre-assessment and        12   post-assessment tests, right?
13     post-assessments on the right?                          13 A Yes.
14 A    Because those are nearly identical functions.          14 Q But you did not do an analysis of how the questions
15 Q    How so?                                                15   or answers might be similar or different between
16 A    Because there are pre assessments and                  16   the examinations that are available there?
17     post-assessments.                                       17           MS. MUIRHEAD: Objection, form.
18 Q    Under the personalized learning --                     18           THE WITNESS: Correct. I did not put
19 A    Yes.                                                   19   questions side by side.
20 Q    -- link? Would you agree with me, Mr. Lanterman        20 BY MR. EBNET:
21     that only the word "faculty" is identical between       21 Q Okay.
22     the left and the right?                                 22 A And are we on page 12 now?
23 A    Well, identical, I would agree. But it does say        23 Q Yes, we are.
24     "course evaluation," which points to "evaluation."      24 A Sure.
25     "Content library" points to "course content."           25 Q What does Figure 2 show, Mr. Lanterman?

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                                                      Page 146                                                       Page 148
 1   assessments results because it has a comparison              1   Mayo's access credentials to view the K2P platform
 2   between the pretest and post-test as I see it?               2   were shared with CWS. Do I have that right?
 3 A Yep, correct.                                                3 A Yes.
 4 Q I don't see a class average functionality, do you?           4 Q And I think that a note to look at, paragraph
 5 A No.                                                          5   28D --
 6 Q Similar to Figure 2 and Figure 1, was there other            6 A 28D?
 7   information displayed on the screen that is not              7 Q Yep, on page 7.
 8   captured in this screenshot in Figure 3?                     8 A Okay.
 9           MS. MUIRHEAD: Objection, form.                       9 Q Do you know, Mr. Lanterman, the level of access
10           THE WITNESS: And I'm sorry, could you               10   that the credentials that you received for the K2P
11   ask that again?                                             11   platform provided you?
12 BY MR. EBNET:                                                 12 A I'm not sure how to answer that. Could you
13 Q Happy too. Figure 3 shows a screenshot that you             13   rephrase it?
14   took of the MedEd Manager platform, right?                  14 Q Let me ask it in a different way, yeah. You had
15 A Yes.                                                        15   ordinary user credentialing to access the K2P
16 Q Was there additional information displayed on the           16   platform?
17   page beyond what is represented in Figure 3?                17           MS. MUIRHEAD: Objection, foundation.
18 A I believe that there was, but not relating to the           18   Objection, form.
19   results. So I believe that there were some icons            19           THE WITNESS: That's my understanding,
20   that would have allowed me to get out of this               20   yes.
21   screen and take me someplace else, but there was            21 BY MR. EBNET:
22   nothing -- there was no other information displayed         22 Q Okay. You saw what a learner would see when they
23   relating to the results.                                    23   logged in, to the best of your understanding?
24 Q Okay. Are you able to see from this results page            24 A Yes.
25   the number of questions that you were asked and             25 Q Okay. Have you seen any evidence describing the
                                                      Page 147                                                       Page 149
 1     answered?                                                  1     level of access that CWS had if they logged in
 2 A    No, not from this.                                        2     using the Mayo credentials?
 3 Q    The results here are expressed as percentages,            3 A     I believe I read something about -- or describing
 4     right?                                                     4     the credentials supplied to CWS as administrator
 5 A    That's correct.                                           5     credentials.
 6 Q    Are these results that you got, Mr. Lanterman?            6 Q     Do you know what that means?
 7 A    Yes.                                                      7 A     Well, I think I know what that means. I don't know
 8 Q    The first row under the basics, Mr. Lanterman, I          8     how, you know, people from other organizations
 9     see a heading that says, "Medical statistics,              9     think, you know, what they mean by that. You know,
10     pearls for the boards." Do you see that?                  10     we -- you know, unfortunately IT people use terms,
11 A    Yes.                                                     11     and we assume we all say it -- the same words for
12 Q     Is "pearls" another word that you've come across in     12     the same things. My understanding of admin is you
13     your teaching experience?                                 13     can do pretty much whatever you want. So if I
14 A     I don't think so, no.                                   14     wanted to see if you were logged in, if I wanted to
15 Q     The other aspect of your opinion, Mr. Lanterman,        15     see your test results, if I wanted to see the last
16     beyond the analysis of the platforms that we've           16     time you logged in, you know -- but I -- I did not
17     just been talking about, is the email review that         17     have that level of access.
18     we discussed earlier. Do you recall that?                 18 Q     Okay. What evidence are you thinking of that
19 A    Yes.                                                     19     described this administrative access?
20 Q     You described this review as providing the              20 A     I believe that I read either -- well, I thought
21     necessary context for you to provide your opinions        21     that it was in McGinnis's deposition transcript,
22     in this case, right?                                      22     but again, it's been a while since I've -- since
23 A    Yes.                                                     23     I've seen that. I know -- I believe I read
24 Q     One of your conclusions, as I understand it from        24     something describing the credentials as being
25     your review of the project correspondence, is that        25     administrative.

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                                                    Page 150                                                       Page 152
 1 Q     Okay. And the specifics of what administrative         1   actually presented to them when they used that
 2     credentials mean in this case, you have a general        2   password, if they did?
 3     understanding of what they might mean, but you           3            MS. MUIRHEAD: Objection, form.
 4     haven't seen anything in the documents describing        4            THE WITNESS: I've not spoke with
 5     exactly what that allowed CWS or Mayo or anybody         5   anyone from CWS. I believe I read that they were
 6     else to see or not see?                                  6   given administrative credentials to access K2P's
 7 A     Yeah, correct. Administrative typically means just     7   platform, but I've not spoken with anyone from CWS.
 8     that. You can -- you know, I don't want to sound         8   I wasn't in the room when this evaluation took
 9     blasphemous, but it's often referred to as God           9   place.
10     mode.                                                   10 BY MR. EBNET:
11 Q     Do you have administrative access for your            11 Q And again, what you've just described as you
12     company's website?                                      12   don't -- you don't know one way or the other what
13 A     Yes, I can do edits to the website.                   13   administrative access, if that was provided here --
14 Q     You can add news coverage that you've recently done   14   what that allowed CWS to see or not see?
15     and put it on the website, right?                       15            MS. MUIRHEAD: Objection, form.
16 A     Yes.                                                  16   Objection, asked and answered.
17 Q     When I go to your website, I can't upload any video   17            THE WITNESS: Yes and no. What I'll
18     I want to the front page of your website, right?        18   add to that is if they had any kind of user
19 A     That's correct.                                       19   credential that authenticated, like a proper
20 Q     Have you seen any evidence in this case,              20   password, they would have seen at least what I saw.
21     Mr. Lanterman, that suggests that CWS could see the     21 BY MR. EBNET:
22     source code of the K2P platform if they logged in       22 Q And I'm sorry to interrupt, what you saw is what a
23     with the credentials that Mayo provided them?           23   user would see, right?
24 A     I've not seen anything that would suggest that to     24 A That's correct.
25     me. It's not surprising, they are kind of two           25 Q And I want to touch on paragraph 306 your report,
                                                    Page 151                                                       Page 153
 1   separate things. But with any kind of credential,          1     Mr. Lanterman, which is on page 9?
 2   whether user or administrator, you would need that         2 A     Okay.
 3   kind of access to evaluate the functionality. But          3 Q     Here you say, among other things, that the K2P
 4   I don't -- I have no reason to believe that CWS            4     platform was a directing force in the development
 5   accessed source code.                                      5     of MedEd Manager, do you see that?
 6 Q Are you aware one way or the other, Mr. Lanterman,         6 A     Yes.
 7   if there were free trials offered for the K2P              7 Q     What do you mean by "directing force"?
 8   platform where anybody could sign up?                      8 A     Well, what I mean by that is I've read multiple
 9 A I don't know.                                              9     communications, and I had seen statements in
10 Q You have not performed a forensic analysis,               10     transcripts under oath in which CWS was directed to
11   Mr. Lanterman, of the type of access that CWS may         11     look at K2P. You know, essentially that's what we
12   have been given to the K2P platform?                      12     want, go look at it and make it happen. So by the
13            MS. MUIRHEAD: Objection, form.                   13     driving force, what I'm saying is that's -- that's
14 BY MR. EBNET:                                               14     Frank's song, and I want to do something just like
15 Q Is that right?                                            15     he did. That analogy, I apologize, but...
16 A Well, I've reviewed documents discussing CWS's            16 Q     Does "directing force" mean the same thing to you
17   access to the platform. If you want to call that          17     as inspiration? They wanted CWS to use the K2P
18   an analysis, you know. I mean, I read the                 18     platform as inspiration?
19   documents talking about it.                               19 A     I think it's a little bit more than inspiration.
20 Q You read the documents that have been produced in         20     You know, there's a -- there's a difference. If I
21   this case, right?                                         21     look at your law firm's website, it's really nice.
22 A Yes.                                                      22     It's professional. I like the color scheme. And I
23 Q And what I'm trying to understand is whether you          23     go back to my web developer, "Hey, can we do
24   had any visibility into the actual username and           24     something like that?" I -- I think that that's a
25   password that CWS may have been given and what was        25     higher level than "I want you to replicate that."

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                                                 Page 154                                                                       Page 156
 1     This is exactly what I want. I want Dorsey's         1         informed by anything outside of those materials you
 2     colors, I want Dorsey's logo, you know, you don't    2         have listed, right?
 3     need to copy their web page word for word, but that  3 A        That's correct.
 4     gives you the gist. Go to dorsey.com and make my     4 Q        Okay. And you described to me earlier that you
 5     website look similar to that, look the same as       5         were not in the room when CWS may or may not have
 6     that.                                                6         accessed the K2P platform, right?
 7 Q    Okay. Directing force does not mean that you have   7 A        That's correct.
 8     seen any evidence to suggest that Mayo or CWS        8 Q        And so in terms of looking at whatever it is that
 9     copied source code from K2P, right?                  9         they saw if they did log on, you don't know what
10             MS. MUIRHEAD: Objection, form.              10         that was?
11     Objection, asked and answered.                      11 A        That's correct.
12             THE WITNESS: I've seen no evidence of       12 Q        Okay.
13     the exfiltration of source code.                    13                 MR. EBNET: Those are all my questions,
14             MR. EBNET: Mr. Lanterman, I'm pretty        14         Mr. Lanterman. Thanks.
15     close. Let's take a short break. I'll review my     15                 THE WITNESS: Thank you.
16     notes, and then hopefully we'll be close to being   16                 MS. MUIRHEAD: Thank you. Nothing
17     done.                                               17         further from us.
18             THE WITNESS: Awesome, thanks.               18                 THE VIDEOGRAPHER: We are going off the
19             THE VIDEOGRAPHER: We are going off the 19              record at 2:11 p.m., and this concludes today's
20     record at 1:57 p.m. This concludes Media Unit       20         testimony given by Mark T. Lanterman.
21     Number 3.                                           21                 MS. MUIRHEAD: The usual, paperless, no
22             (A short recess was taken.)                 22         rough.
23             THE VIDEOGRAPHER: We are going back on 23                      MR. EBNET: Same. We don't need a
24     the record at 2:09 p.m. This is the beginning of    24         rough, regular is fine.
25     Media Unit Number 4.                                25                    * * *
                                                 Page 155                                                                       Page 157
 1 BY MR. EBNET:                                             1 STATE OF MINNESOTA)
 2 Q Okay. Mr. Lanterman, just a few additional              2             ) SS.
 3   questions. We had discussed this administrative         3 COUNTY OF GOODHUE )
 4   access concept. Do you recall that?                     4
 5 A Yes.                                                    5        Be it known that I took the deposition of MARK
 6 Q And let me be more clear, we are discussing it in       6 LANTERMAN on the 9th day of March, 2023;
 7   terms of what CWS could or could not see on the K2P     7        That I was then and there a notary public in
 8   platform. Do you recall that?                           8 and for the County of Goodhue, State of Minnesota, and
 9 A Yes.                                                    9 that by virtue thereof; I was duly authorized to
10 Q And what I heard you say is that your understanding    10 administer an oath;
11   of administrative access for purposes of this case     11        That the witness before testifying was by me
12   is based on the deposition transcript of Justin        12 first duly sworn to testify to the truth and nothing but
13   McGinnis, is that right?                               13 the truth relative to said cause;
14           MS. MUIRHEAD: Objection, form.                 14        That the testimony of said witness was recorded
15           THE WITNESS: Well, what I said was I           15 in computerized stenotype and thereafter transcribed by
16   recall reading something describing the access         16 myself, and that the testimony is a true record of the
17   given to CWS and that I believed that that             17 testimony given by the witness to the best of my ability;
18   something was the McGinnis transcript.                 18        That I am not related to any of the parties
19 BY MR. EBNET:                                            19 hereto nor interested in the outcome of the matter.
20 Q Certainly that something would be in the materials     20
21   that are listed in your report as being the            21 WITNESSED MY HAND AND SEAL THIS 20TH DAY OF MARCH, 2023.
22   materials you reviewed, right?                         22
23 A Yes.                                                   23
24 Q Your understanding of what administrative access       24          <%25312,Signature%>
25   means for purposes of this case is not being           25               Lisa M. Hutton

                                                                                                            40 (Pages 154 - 157)
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